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eae UNITED STATES COURT OF APPEALS
Ss B. % TENTH CIRCUIT

> > Byron White United States Courthouse

Sg 2 1823 Stout Street

wy ~* Denver, Colorado 80257
> " S$ (303) 844-3157

Oral Argument Calendar Notice / Acknowledgment Form

Name: Igor Raykin

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Re: Case No(s): 22-1369

Caption: Doe v. Rocky Mountain Classical Academy

Argument Date: May 18th, 2023

Argument Time: 09:00 a.m. (Arguing attorneys must report 45 minutes prior thereto)

Courtroom/Place: Courtroom IV - Denver, CO

I acknowledge receipt of the court’s calendar notice assigning the subject case(s) for:

Oral argument to be held in person before the court.

[| I am substitute counsel who will appear in place of an attorney who previously filed an acknowledgment form.

l am appearing on behalf of: [| Other counsel will appear on behalf of:
John Doe (name of party) the Appellant.
Signed (Recipient) Sy te
Date March 20th, 2023
PLEASE NOTE:

If you have not previously registered as an ECF filer and have not filed an entry of appearance form in the
referenced appeal, you must do both before filing this acknowledgement form.

This form must be completed and electronically returned through ECF by the arguing attorney in the appeal set

within ten days. Ifa case is on the oral argument calendar but submitted on the briefs, this form still needs to be
completed, with the notation the matter will be submitted on the briefs. Counsel for amicus/amici curiae do not
present oral argument without written permission by the court.

When filing the calendar acknowledgement form in ECF, please read instructions. Do not deselect attorneys who
have already filed their form unless it is a one for one substitution representing the same party.

Counsel for the defendant in a criminal appeal or the petitioner in a habeas corpus, civil rights or immigration matter
must also complete and separately file a custody status questionnaire.

Questions may be directed to the 10th Circuit Calendar Team at 303.335.2708 or contact by email at

10th_Circuit_Calteam@cal0.uscourts.gov.
Rey. 04/2022
